     Case 4:19-cv-03555 Document 38 Filed on 12/12/19 in TXSD Page 1 of 19
                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                    IN THE UNITED STATES DISTRICT COURT               December 12, 2019
                    FOR THE SOUTHERN DISTRICT OF TEXAS                 David J. Bradley, Clerk
                             HOUSTON DIVISION



MARY EVANS and DON WESTON                  §
DORRELL, Individually and as               §
Representatives of a Class,                §
                                           §
                    Plaintiffs,            §
                                           §
v.                                         §       CIVIL ACTION NO. H-19-3555
                                           §
ENTERPRISE PRODUCTS PARTNERS,              §
LP; OILTANKING PARTNERS, LP;               §
and CENTERPOINT ENERGY,                    §
                                           §
                    Defendants.            §



                        MEMORANDUM OPINION AND ORDER


       Plaintiffs Mary Evans and Don Weston Dorrell, individually and

as representatives of a class           (collectively,     "Plaintiffs") sued

defendants       Enterprise     Products       Partners,   LP   ("Enterprise"),

Oiltanking Partners,       LP     ("Oiltanking"),     and CenterPoint Energy

Houston Electric, LLC ("CenterPoint") (collectively, "Defendants")

in the 165th District Court of Harris County, Texas. 1              Enterprise

timely removed based on the Class Action Fairness Act of 2005

("CAFA"). 2     Pending before the court are Plaintiffs Mary Evans and



      Defendant Enterprise Products Partners, LP's Notice of
       1

Removal ("Notice of Removal"), Docket Entry No. 1, p. l;
Plaintiffs' Original Complaint - Class Action Petition ("Original
Complaint"), Exhibit B to Notice of Removal, Docket Entry No. 1-2,
p. 2. All page numbers for docket entries in the record refer to
the pagination inserted at the top of the page by the court's
electronic filing system, CM/ECF.
       2
           Notice of Removal, Docket Entry No. 1, p. 2.
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Don Weston Dorrell's,                 Individually and as Representatives of a

Class, Motion to Remand (Docket Entry No. 20)                     ("Plaintiffs' Motion

to Remand"); Defendant CenterPoint Energy Houston Electric, LLC's

FRCP 12 (b) ( 6) Motion to Dismiss ("CenterPoint' s MTD") (Docket Entry

No.     2);    and     Defendants          Enterprise     Products    Partners,    LP   and

Oiltanking Partners, LP's Motion to Dismiss Pursuant to Federal

Rule of Civil Procedure 12 (b) ( 6)                     ( "Enterprise and Oiltanking's

MTD")        (Docket Entry No.              3).     For the    reasons   stated below,

Plaintiffs' Motion to Remand will be granted,                           and Defendants'

motions to dismiss will be denied as moot.


                 I.    Alleged Facts and Procedural Background

        Enterprise and Oiltanking are partnerships involved in the oil

logistics        and       storage        business. 3     In   2014   Oiltanking    began

constructing oil pipelines in Channelview,                       Texas, on a pipeline

easement owned by CenterPoint. 4                  Enterprise purchased a controlling

interest in Oiltanking in October of 2014 and became partial owner

of the pipelines,                the first of which was completed in 2015. 5

During construction Enterprise and Oiltanking compacted excavated

soil on top of the pipeline, creating a topsoil with a large amount

of hardened clay that did not match the site's original, permeable



      Original Complaint, Exhibit B to Notice of Removal, Docket
        3

Entry No. 1-2, p. 6 1 19.
        4
            Id. at 5   1   15,    7   1   20.
        5
            Id. at 6   1   19,    7   1   20.

                                                  -2-
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topsoil. 6    Plaintiffs allege that the new topsoil diverts surface
water and has caused significant flooding in the areas on either

side of the pipeline easement. 7               Plaintiffs allege that this
flooding has caused direct damage to some properties and reduced
the value of other properties in the area. 8
     On August 19, 2019, Plaintiffs brought a class action against

Defendants in state court alleging negligence, trespass, nuisance,
and a violation of the Texas Water Code. 9            Plaintiffs defined the
class as those who within two years prior to the filing owned
property that suffered flood damage or diminution of value in an
area in or around Channelview, Texas, bounded by Interstate 10,
Texas State Highway Beltway 8,            Moore Road,      and Sheldon Road. 10
Enterprise removed the case to this court on the basis of diversity
jurisdiction under CAFA on September 20, 2019. 11               Defendants filed
motions to dismiss the action for failure to state a claim under
Rule 12 (b) (6)      on September 27,     2019. 12    Plaintiffs filed their
Motion to Remand on October 18, 2019, seeking remand of the action


     6
         Id. at 8-9       11 22-25, 10 1 28.
     7
         Id. at 9    1 26.
     8
         Id. at 10       1 29.
     9
         Id. at 2    1    1.

     lOid. at 10         1 32.
     11   Notice of Removal, Docket Entry No. 1, p. 2.
      Centerpoint's MTD, Docket Entry
     12
                                                     No.   2;    Enterprise   and
Oiltanking's MTD, Docket Entry No. 3.
                                        -3-
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to state court under CAFA's mandatory and discretionary remand

provisions for class actions that are genuinely local in nature. 13

Defendants filed responses to the Motion to Remand on November 8,
2019. 14      Plaintiffs filed their reply on November 15, 2019. 15
Enterprise and Oiltanking filed a surreply on November 22, 2019. 16


                              II.   Law and Analysis

      CAFA allows defendants to remove class actions to federal
court that involve (1) a class of over one hundred members, (2) an
amount in controversy exceeding $5,000,000, (3) primary defendants
other than states, state officials, or other government entities,
and (4) diversity of state citizenship between at least one class
plaintiff and at least one defendant.             28 u.s.c.    §§   1332 (d) (2),

(d) (5).      But the court's jurisdiction under CAFA is subject to

three exceptions.       If greater than two-thirds of plaintiff class

members      are   citizens    of the    state   in   which   the   action   was


      13
           Plaintiffs' Motion to Remand, Docket Entry No. 20, pp. 5, 10.
      Defendants Enterprise Products Partners, LP and Oiltanking
      14

Partners, LP's Response in Opposition to Plaintiffs' Motion to
Remand ( "Enterprise and Oiltanking's Response"), Docket Entry
No. 27; Defendant CenterPoint Energy Houston Electric, LLC's
Response to Plaintiffs' Motion to Remand, Docket Entry No. 28.
       Plaintiffs Mary Evans and Don Weston Dorrell's, Individually
      15

and as Representatives of a Class, Reply to Defendants' Response to
Plaintiffs' Motion to Remand ("Plaintiffs' Reply"), Docket Entry
No. 33.
      Defendants Enterprise Products Parnters, LP and Oiltanking
      16

Partners, LP's Surreply in Opposition to Plaintiffs' Motion to
Remand ( "Enterprise and Oiltanking's Surreply"), Docket Entry
No. 37.
                                        -4-
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originally filed, the mandatory local controversy or home-state
exceptions       may   apply.     Id.    §    1332 (d) (4);       Preston    v.     Tenet
Healthsystem Memorial Medical Center, Inc., 485 F.3d 804, 810 (5th
Cir. 2007) ("Preston II"). If greater than one-third but less than
two-thirds of class plaintiffs are citizens of the state where the
action was filed, the court has discretion to decline to exercise
jurisdiction in the interest of justice.               Id.    §   1332 (d) (3).
        Plaintiffs contend that remand is appropriate under the
mandatory or discretionary remand provisions.                     Defendants oppose

remand and primarily argue that Plaintiffs have not provided
sufficient evidence to prove any                proposed      class members are
citizens of Texas.             To prove citizenship,          Plaintiffs provide
evidence in the form of property ownership, address lists, census
statistics,      driver's license data,         and public corporate entity
data.        Defendants argue that (1) Plaintiffs cannot now present
evidence of the citizenship of the class members because their
Original Complaint does not allege any facts as to citizenship, and
(2) the evidence provided by Plaintiffs does not suffice to prove
the citizenship of the class members.


A.     Relevance of Original Pleadings

       Defendants      argue    the   court     must    disregard         Plaintiffs'
extrinsic       evidence   because      Plaintiffs     failed        to     plead    the
citizenship of the class members in their Original Complaint. 17


      Enterprise and Oiltanking's Response, Docket Entry No. 27,
        17

pp. 9-10.
                                        -5-
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Plaintiffs argue that the court is not limited to the Complaint and

may rely on extrinsic evidence. 18

     Defendants rely on Coleman v. Estes Express Lines, Inc., 631

F.3d 1010, 1015           (9th Cir. 2011), to support their argument.

Coleman involved CAFA's local controversy exception, three elements

of which are that (1) the plaintiffs sought significant relief from

a defendant (2) who is a citizen of the state where the suit is

filed and (3) whose alleged conduct forms a significant basis for

the class's claims.           Id. at 1013.       The Ninth Circuit held that

CAFA's text for first and third elements-in particular, the words

"sought" and "alleged"-meant they could only be satisfied from the

face of the plaintiffs' complaint and were not facts for the

district court to find.          Id. at 1015-16.      But critically the Ninth

Circuit distinguished these elements from the element of the

defendant's citizenship.           For citizenship, the statute states the

element as "[the defendant] is a citizen," using the word "is."             28

U.S.C.     §   1332 (d) (4) (A) (i) (II) (cc).   Coleman held that this word

choice "indicates that an actual fact must be established."                631

F.3d at 1015.       Coleman therefore teaches that some elements to CAFA

exceptions must appear on the face of the complaint while others

are facts the district court must find.

     Like the element of defendant citizenship in Coleman, all

three exceptions to CAFA have as an element that enough class

members        "are citizens of the        State in    which the action was

     18
          Plaintiffs' Reply, Docket Entry No. 33, p. 12.
                                         - 6-
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originally filed."             28 U.S.C. §§ 1332 (d) (3);         (d) (4) (A) (i) (I);

(d) (4) (B).      The    statute's    use     of   the   verb   "are"    means    the

citizenship of class members is a fact that must be established

rather than an allegation that must be pled. See Coleman, 631 F.3d

at 1015.       Because prospective class members' citizenship is a fact

the court must find to determine the applicability of CAFA' s

exceptions, it may consider evidence submitted by the parties and

is not limited to the pleadings.              See In re Sprint Nextel Corp.,

593 F.3d 669, 676 (7th Cir. 2010) (vacating a remand order pursuant

to a CAFA exception but ordering the district court to permit the

plaintiffs to present additional evidence to prove the proposed

class members' citizenship).            There is no basis in the text and

Defendants cite no authority supporting their argument that facts

to be proven under CAFA are limited to what the plaintiffs alleged

in their Original Complaint.


B.     Evidence of Class Member Citizenship

       Plaintiffs       have    presented     evidence     that     they     contend

establishes that more than two-thirds or at least more than one-

third of the proposed class members are Texas citizens.                          That

evidence includes:
       •       Information from the local property tax authority,
               the Harris County Appraisal District ( "HCAD") ,
               showing that 97.53% of the 10,271 parcels in the
               class area had Texas mailing addresses used for
               receipt of property tax bills; 19


      Plaintiffs' Motion to Remand, Docket Entry No. 20, p. 15 &
       19

n.2; HCAD Information Spreadsheet, Exhibit 1 to Plaintiffs' Motion
                                                    (continued...)
                                        -7-
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     •      HCAD information that 1,707 of the parcels had been
            bought in the two years prior to the filing of the
            lawsuits, indicated that there are 1,707 former
            owners in the class; 20
     •      A random sample of 5% of the current HCAD parcel
            owners of which 87.16% hold Texas driver's licenses
            matching the HCAD listing or are Texas government
            or business entities; 2 1
     •      Affidavits from the Plaintiff representatives and
            five other potential class members stating that
            they are residents of Texas and intend to remain in
            Texas; 22
     •      U.S. Census data showing that the Houston
            metropolitan area and Harris County grew by 1.3%
            and 0.7% respectively between July of 2017 and July
            of 2018 despite the widespread flooding caused by
            Hurricane Harvey in August of 2017; 23 and

     19 (
          continued)
          •••
to Remand, Docket Entry No. 20-2; Affidavit of Kyle K.
Wittenbraker, Docket Entry No. 20-4, pp. 3-4 (explaining the source
and method used to create the spreadsheet).
      Spreadsheet Including Date Current Owner Acquired Property,
     20

Exhibit 14 to Plaintiffs' Reply, Docket Entry No. 33-3; Second
Affidavit of Kyle K. Wittenbraker, Exhibit 13 to Plaintiffs' Reply,
Docket Entry No. 33-2, pp. 4-5 112 (explaining how the spreadsheet
can be used to calculate the 1,707 figure).
     21 Spreadsheet with 5% Sample, Exhibit 16 to Plaintiffs' Reply,

Docket Entry No. 33-5; Texas Driver Reports 1, Exhibit 17 to
Plaintiffs' Reply, Docket Entry Nos. 34-2, 34-3; Texas Business
Organizations Inquiries, Exhibit 18 to Plaintiffs' Reply, Docket
Entry No. 33-7; Second Affidavit of Kyle K. Wittenbraker,
Exhibit 13 to Plaintiffs' Reply, Docket Entry No. 33-2, pp. 5-6
11 17-21 (explaining the source and method used to create the
spreadsheet).
      Affidavits of Alejandro Gonzalez, Anthony Thompson,
     22
Don Weston Dorrell, James Barlow, Janice Joseph, Mary Evans, Royal
Ursin, and Steven Nash, Exhibit 15 to Plaintiffs' Reply, Docket
Entry No. 33-4.
      U.S. Census Bureau Estimates of Resident Population Change
     23

and Rankings, Exhibit 21 to Plaintiffs' Reply, Docket Entry
No. 33-10.
                                    -8-
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     •       Survey data published by the Kaiser Family
             Foundation showing that only 8% of Texas residents
             who had evacuated due to Hurricane Harvey had not
             returned to their homes by August of 2018.24

Defendants argue this evidence does not suffice to establish class

member citizenship for the purposes of CAFA.


     1.   Evidentiary Standard for Class Citizenship Under CAFA

     Federal      courts    generally      must    make      jurisdictional

determinations based on readily available information.            Hollinger

v. Home State Mutual Insurance Co., 654 F.3d 564, 570 (5th Cir.

2011). The standard for establishing the domicile of a large class

of plaintiffs to determine CAFA jurisdiction requires practicality

and reasonableness.     Preston II, 485 F.3d at 816.         "The court has

wide, but not unfettered, discretion to determine what evidence to

use in making its determination of jurisdiction."            Hollinger, 654

F.3d at 570-71.

     Exceptions to CAFA jurisdiction are intended to be narrow, and

the court must resolve doubts in favor of exercising jurisdiction.

Arbuckle Mountain Ranch of Texas, Inc. v. Chesapeake Energy Corp.,

810 F.3d 335, 337 (5th Cir. 2016).         The party objecting to CAFA

jurisdiction bears the burden of proving the citizenship status of

the plaintiff class members by a preponderance of the evidence.

Hollinger,    654 F.3d at    571.     For the     purposes    of diversity


      One Year After the Storm: Texas Gulf Coast Residents' Views
     24

and Experiences with Hurricane Harvey Recovery, Exhibit 22 to
Plaintiffs' Reply, Docket Entry No. 33-11, p. 18.
                                    -9-
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jurisdiction, United States citizens are citizens of the states in
which they are domiciled.       Coury v. Prot, 85 F.3d 244, 248 (5th
Cir. 1996). Domicile in turn depends on residence and intention to
remain in a state.    Preston v. Tenet Healthsystem Memorial Medical
Center, Inc., 485 F.3d 793, 798 (5th Cir. 2007) ("Preston I").

Once domicile is established, it presumptively continues unless

rebutted by evidence of change.        Id.
     Evidence of a person's place of residence is prima facie proof
of his domicile. Hollinger, 654 F.3d at 571 (citing Preston I, 485
F.3d at 799).     Common sense and practicality allow the court to

consider evidence such as census data and other statistics that may
not necessarily be specific to the class in determining the
residencies of a large plaintiff class. Id. at 572. The court may
make common-sense presumptions to determine whether the evidence
establishes the citizenship of the parties, but cannot rely on

guesswork in the absence of evidence.        Hollinger, 654 F.3d at 573;
In re Sprint Nextel Corp., 593 F.3d at 674.

     2.   Application
     The class consists of 11,978 potential members, 10,271 who own
parcels in the class area plus 1,707 former owners.          Of the 10,271
parcels, 10,017 owners listed Texas mailing addresses for the
receipt of property tax bills with HCAD.            Taken alone, mailing
addresses do not suffice to establish residency.            Preston I, 485
F.3d at 799.    The combination of property ownership and a Texas
billing address, however, has some probative value. See Hollinger,

                                   -10-
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654 F.3d at 573.             Nevertheless, the court concludes that this

evidence is not sufficient to carry Plaintiffs' burden because it

requires guesswork as to the proportion of the 10,017 owners with

Texas billing addresses who may not be Texas residents.                 See In re

Sprint Nextel Corp., 593 F.3d. at 674.             In particular, it does not

identify how many of the parcels are non-residential or vacant, how

many parcels might be owned by the same owner, or how many parcels

might be owned by out-of-state owners who nonetheless list a Texas

billing address.

     More specific and compelling is Plaintiffs' random sample of

the HCAD list of owners.              Using a randomly generated 5% sample of

the 10,271 parcels, Plaintiffs matched individual owners listed by

HCAD with Texas driver's licenses and entity owners with public

data from the Texas Secretary of State. 25           Only 66 of the sample of

514 parcels, or 12.84%, are owned by individuals who did not hold

Texas driver's licenses or entities who were not formed in Texas

and do not have their principal place of business here.26                    87.16%

of the parcels are owned by individual holders of Texas driver's

licenses,      Texas       business    organizations,    or   Texas    government

entities. 27         The    court     concludes   that   evidence     that   these



      Second Affidavit of Kyle K. Wittenbraker, Exhibit 13 to
     25

Plaintiffs' Reply, Docket Entry No. 33-2, pp. 5-6 11 17-21.
     26
          Id. at 6   1   21.
     27Id.


                                          -11-
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individuals own property in Texas and hold a Texas driver's license

indicates Texas residency.

     Individual class members' residence is prima facie evidence

that they are domiciled in Texas.           Hollinger,   654 F.3d at 571.

Texas driver's licenses are also probative of an intent to remain

in Texas, as a person is unlikely to obtain a driver's license in

a state he does not intend to remain in for some time.           Accord id.

at 574 (concluding that a person registering and insuring a vehicle

in Texas was probative of an intent to remain).           This evidence is

supplemented by affidavits from the named plaintiffs and five

possible class members stating that they reside in Texas and intend

to remain.      See   Preston II,     485   F.3d at    817   (holding that

affidavits of eight members of a large proposed class stating their

residence and intent to remain were probative as to the citizenship

of the class as a whole in the absence of contradictory objective

evidence). The court concludes that Plaintiffs have established by

a preponderance of the evidence that the individual HCAD-listed

property owners who hold Texas driver's licenses are domiciled in

Texas.

     Defendants object that the random sample is too small to be

probative.    The court disagrees; a random sample of 514 parcels

consisting of 5% of the total population of HCAD addresses is large

enough both in absolute size and compared to the overall population

to have significant probative value.        See Payton v. Entergy Corp.,

Civil Action No. 12-2452, 2013 WL 5722712, at *9-10, *14 (E.D. La.

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Oct. 21, 2013) (finding an expert's survey consisting of a sample

of    500   of   a   proposed    class   of   over   500,000   customers      was

"significantly more evidence" than needed to prove the citizenship

of the overall class).          Matching data from different databases can

be costly and time consuming.         Plaintiffs' statistical approach to

show the proportions of the types of owners in the prospective

class is a reasonable and practical method to prove their state

citizenship.

       Defendants also object that Texas driver's licenses are not

probative as to state citizenship because foreign nationals may

hold them.       See Tex. Transp. Code § 521.0305 (permitting the Texas

Department of Safety to issue drivers' licenses to citizens of

foreign countries); see also Coury, 85 F.3d at 248 (holding that a

state's citizens are citizens of the United States domiciled in

that state).      Defendants argue that the court should disregard the

driver's license data absent a showing of the proportion who are

United States citizens.           The court may, however, take judicial

notice of the most recent public data from the United States Census

American Community Survey, which estimates that 86.67% of adults in

Texas and 78. 93% of adults in Harris County are United States

citizens. 28     See Fed. R. Evid. 201(c)(1); Hollinger, 654 F.3d at


     28 See United States Census Bureau, American Community Survey,
2017: American      Community 5-Year    Estimates  Data   Profiles,
https://www.census.gov/acs/www/data/data-tables-and-tools/data-pr
ofiles/ (estimating that 17,512,737 and 2,605,043 United States
citizen adults reside in Texas and Harris County respectively out
of a total of 20,206,495 and 3,300,460 adult residents).
                                      -13-
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571-72 ("[C]ensus data is an appropriate and frequent subject of

judicial notice.").     While not specific to the property owners in

this case, this type of statistical information may be reasonably

applied to a prospective class for the purpose of determining

jurisdiction.     Id. at 572.      In order to be as conservative as

possible and to      avoid speculation, the court will           apply      the

percentages from the census data to the 87 .16% of the owners

Plaintiffs have shown either hold Texas driver's licenses or are

Texas entities to determine the proportion who are likely Texas

citizens.     Combining these figures produces a reasonable and

practical estimate that 68.80% to 75.54% of the current property

owners listed by HCAD are either Texas entities or are individuals

who are domiciled in Texas and are citizens of the United States. 29

Accordingly, Plaintiffs' evidence is sufficient to establish by a

preponderance of the evidence that 68.80% to 75.54% of the owners

listed by HCAD are Texas citizens.

     Plaintiffs' random sample does not, however, include the 1,707

former owners who are also part of the class but whose names and

addresses are not on the HCAD list.         The only evidence as to the

former owners is that they previously owned property in Texas,

which alone does not suffice to prove citizenship.          Accounting for

the former owners reduces the proportion of the total class for



      0.8716 multiplied by 0.8667 equals 0.7554, and multiplied by
     29

0.7893 equals 0.6880.
                                   -14-
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whom there is significant evidence of Texas citizenship to 59.00%

to    64.77%      of    the    total   proposed       class      of   11,978      members. 30
Accordingly, Plaintiffs have not shown by a preponderance of the
evidence that at least two-thirds of the proposed class are
citizens        of     Texas   as   required        for    CAFA's     mandatory       remand

provisions, but Plaintiffs have satisfied the one-third threshold
that permits discretionary remand.                        28 U.S.C.         §§   1332(d)(3),

( d) ( 4) .


C.      Discretionary Remand

        It is not disputed that the Defendants are Texas citizens.31
Because Plaintiffs have shown that greater than one-third but less
than two-thirds of the proposed class members are also Texas
citizens, CAFA authorizes the court to decline jurisdiction in the
interests         of    justice     and     looking       at   the    totality      of   the
circumstances.           28 U.S.C.     §   1332(d)(3).         The court must consider
six statutory factors in deciding whether discretionary remand is
appropriate.           Id.
        The first factor is "whether the claims asserted involve

matters of national or interstate interest."                      Id.   §   1332(d)(3)(A).



      Multiplying 68.80% and 75.54% to the 10,271 unique parcels
        30

produces 7,066.45 to 7,758.71 parcels owned by Texas citizens.
Dividing these by the total number of potential plaintiffs
including former owners, 11,978, produces .5900 and .6477, or
59.00% and 64.77%.
        31   See Motion to Remand, Docket Entry No. 20, pp. 17-18.
                                             -15-
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Defendants argue that the case centers on pipeline construction and

safety,    which is a matter of national and interstate interest

because     pipelines   are   essential      in   interstate   commerce    and

regulated by federal law. 32     But "[u] nder CAFA, the terms local and

national connote whether the interests of justice would be violated

by a state court exercising jurisdiction over a large number of

out-of-state citizens and applying the laws of other states."

Preston II,    485 F.3d at 822.        In Preston II,     for example,     the

defendants opposing remand under CAFA argued that "the evacuation

of medical and other facilities during disasters" was an issue of

national concern.       Id.   The Fifth Circuit rejected that argument

not because it disagreed that evacuation during disasters could be

a matter of national interest but because that fact did not bear on

whether that particular action was a matter of national interest

for the purposes of CAFA.       Id.    While oil and gas pipeline safety

may generally be of national and interstate concern, that does not

mean that this case is necessarily of national or interstate

interest.     This case involves Texas Defendants' construction of a

local Texas pipeline, which is alleged to have diverted           rainwater

and caused damages to Texas properties nearby owned mostly by Texas

citizens.     These facts reflect a local controversy that "does not

affect national interest as contemplated under the statute."               See

id.   The first factor therefore weighs in favor of remand.


      Enterprise and Oiltankings' Response, Docket Entry No. 27,
      32

pp. 22-23.
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       The second factor is "whether the claims asserted will be
governed by laws of the State in which the action was originally

filed or by the laws of other States."             28 U.S.C.   §   1332(d)(3)(B).
Plaintiffs allege only Texas state-law claims, and Defendants have
not argued that other state law applies.                  The third factor is

"whether the class action has been pleaded in a manner that seeks
to avoid Federal jurisdiction;" if so, remand is disfavored.                   Id.
§   1332(d)(3)(C); see Preston II, 485 F.3d at 822-23.               There is no
indication Plaintiffs intentionally pled the case to avoid federal
jurisdiction.      The second and third factors both weigh in favor of
remand.

       The fourth factor is "whether the action was brought in a
forum with a distinct nexus with the class members, the alleged

harm, or the defendants."        28 U.S.C.    §   1332(d)(3)(D).     The alleged
wrongful conduct, alleged damaged properties, Defendants and the
majority of the potential class members, and the location of the
alleged injuries have a distinct nexus in the state of Texas, where
the claim was originally brought.                 The fifth factor requires
weighing of the proportion of the potential class members who are
citizens of the state in which the action was brought against the
proportion      who   are    citizens    of       other   states.        Id.   at
§   1332(d)(3)(E).    Plaintiffs' evidence shows that over half of the
potential class members are Texas citizens.               The fourth and fifth
factors both weigh in favor of remand.


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     The   final    factor      is   "whether,   during        the    3-year period

preceding the filing of [the] class action, 1 or more other class

actions asserting the same or similar claims on behalf of the same

or other persons have been filed."                 Id.    at     §    1332(d) (3) (F).

Because there is no evidence that any such similar class actions

have been filed here, this factor weighs in favor of remand.

     Defendants are Texas citizens, greater than one-third but less

than two-thirds of the proposed plaintiff class members are Texas

citizens, and all of the discretionary remand factors weigh in

favor of remand.        Accordingly,       the court concludes it should

decline to exercise jurisdiction under CAFA and remand the case to

state court.      Because the court declines to exercise jurisdiction

over Plaintiffs' claims, Defendants' 12(b) (6) motions to dismiss

will be denied as moot.


                        III.     Conclusion and Order

     For the reasons stated above,               Plaintiffs Mary Evans and

Don Weston Dorrell's,          Individually and as Representatives of a

Class,   Motion    to   Remand       (Docket   Entry     No.    20)     is   GRANTED.

Defendant CenterPoint Energy Houston Electric, LLC's FRCP 12(b) (6)

Motion to Dismiss (Docket Entry No. 2) and Defendants Enterprise

Products Partners,      LP and Oiltanking Partners,                  LP's Motion to

Dismiss Pursuant to Federal Rule               of Civil Procedure            12(b) (6)

(Docket Entry No. 3) are DENIED AS MOOT.


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     This action is REMANDED to the 165th District Court of

Harris County, Texas.     The Clerk will promptly deliver a copy of
this Memorandum    Opinion and     Order to the      District Clerk of

Harris County, Texas.

     SIGNED at Houston, Texas, on this 12th day of December, 2019.




                                     SENIOR UNITED STATES DISTRICT JUDGE




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